          Case
2/19/25, 12:21 PM 2:23-cv-03885-LMG-LDW                  Document1-207736cd71.jpg
                                                                  236-1 Filed         02/19/25
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          Case
2/19/25, 12:22 PM 2:23-cv-03885-LMG-LDW                  Document2-5831bc5732.jpg
                                                                  236-1 Filed         02/19/25
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          Case
2/19/25, 12:23 PM 2:23-cv-03885-LMG-LDW                   Document 3-82fcfb8ee2.jpg
                                                                   236-1 Filed          02/19/25
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https://html.scribdassets.com/6kktcbh5xce44eme/images/3-82fcfb8ee2.jpg                                                   1/1
          Case
2/19/25, 12:23 PM 2:23-cv-03885-LMG-LDW                  Document4-7ab2c20009.jpg
                                                                  236-1 Filed         02/19/25
                                                                                  (904×1169)     Page 4 of 5 PageID:
                                                               11030




https://html.scribdassets.com/6kktcbh5xce44eme/images/4-7ab2c20009.jpg                                                 1/1
          Case
2/19/25, 12:23 PM 2:23-cv-03885-LMG-LDW                   Document 5-a37af32221.jpg
                                                                    236-1 Filed         02/19/25
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